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      4

      5   Attorney for Defendant MIGUEL OREGEL MAULEON
      6

      7
                                           UNITED STATES DISTRICT COURT
      8
                                       EASTERN DISTRICT OF CALIFORNIA
      9

     10   UNITED STATES OF AMERICA,                           ) Case No.: 1:08-CR-00340 OWW
                                                              )
     11                       Plaintiff,                      ) STIPULATION TO CONTINUE SENTENCING
                 vs.                                          ) HEARING; ORDER
     12
                                                              )
     13   MIGUEL OREGEL MAULEON,                              ) Sentencing Date: March 22, 2010
                                                              ) Time: 9:00 am
     14                     Defendant.                        ) Dept.: Honorable Judge Oliver Wanger
                                                              )
     15

     16          IT IS HEREBY STIPULATED by and between the parties hereto, and through their
     17   respective attorneys of record, that the sentencing hearing in the above captioned matter
     18   now set for March 22, 2010 at 9:00 am, may be continued to April 12, 2010.

     19          The continuance is requested by counsel for Defendant, MIGUEL OREGEL

     20   MAULEON as Attorney Daniel L. Harralson is currently involved in a week long
          Preliminary Hearing in the matter of People v. Daniel Duran. The Preliminary Hearing in
     21
          this matter will resume on Monday, March 22, 2010 at 8:30 am and continue for the
     22
          remainder of the week.
     23
          DATED: March 19, 2010                     Respectfully Submitted,
     24
                                                    DANIEL L. HARRALSON LAW CORPORATION
     25



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                                           Stipulation to Continue Sentencing Hearing


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      1
                                                 /s/ daniel harralson
      2
                                              DANIEL L. HARRALSON
      3                                       Attorney for Defendant

      4

      5
          DATED: March 19, 2010               UNITED STATES ATTORNEYS OFFICE
      6

      7

      8
                                                 /s/
      9                                       Kimberly Sanchez
                                              Assistant United States Attorney
     10

     11

     12

     13                                             ORDER
                                                     -----
     14

     15
                 IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18
     16
          U.S.C.§3161 (h)(7)(A) and (B)
     17
          DATED: March 19, 2010                       /s/OLIVER W. WANGER
     18                                               OLIVER WANGER, Senior Judge
                                                      United States District Court
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                                     Stipulation to Continue Sentencing Hearing


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                                  Stipulation to Continue Sentencing Hearing


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